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EXHIBIT “1”
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“without apportionnent: to

esdidabor of: this, | ny ‘pdt WHEL and. vestanent, |

“ghall otheinise fail to qualify and ‘act, Z then appoint my brother,

I, WALLACE WOOD, residing at 4184 Longbranch Road, Liverpool, New:

York, do hereby make, publish and declare this to be: my Last Wild and»

4.

Testament, hereby revoking all Wills at any time heretofore made aye

me,

FIRST: = dizect that ay funeral expenses and expenses OE sy

administration me paid aiid taxes, whitch may, be assessed against my -

estate Be eally pala as. _S00n aster, 2 niy GBaeh : wap tbe priouldetin:

" séoND: iT give ana ‘Bedueath “ali ee any egtaee: of aeaeres

nature ‘and wheresoever situate as follows:

“BATIANA woop. in

the event she shall piédectase me; then: ‘this f Bequest shail pass q

to my friend, JOHN Hy ROBINSON...

b) - ‘ALL the rést, ‘residue. ‘and rémainder of my denere,” inclusive
of but not Limited “to, all furniture, equipment, jewelry and i

royalty rights for all writings, and art work, whether published

or unpublished: to my Friéna., JOHN Hy ROBINSON. In the event
pac hé shall predecedsé ines - then: this paatiest shall’ ‘pass ‘to.
my first write: TATIANA WOOw gia .

THIRD:

I give to my Sreewede hereinafter named, without

heat tx aS Gt such fiduciary.

eld. JOH: We. ROBINSON,

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and he 2. serve without

bond; in the: évent that the. sake Soi Hy. “ROBINSON: ‘ptedededses mée or

GLENN WOOD, as Executor of this, my Last Will and Testament, also to

serve without bond,

|

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SURROGATE'S COURT OF THE STATE.OF. NEW YORK
ONONDAGA COUNTY

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LAST WILL AND TESTAMENT OF WALLACE WOOD
is a true copy of the original document filed with or recorded In this Court and isa part of the case
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In Witness Whereof, | have: hereunte
Surtogate's Colirt on dune 29, 2009.

(Facsimile signature may be used-pursuant to Section 2609 of the Surrogate’s Court Procedure Act)

sgt acts  f

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EXHIBIT “2”
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AGREEMENT OF ASSIGNMENT ~~

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" Jindividiial(s);

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EXHIBIT “3”
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follows:

I

AFFIDAVIT OF JOHN H, ROBINSON

I, John H, Robinson, being duly sworn according to law, depose and state as

At the time of Wallace Wood’s death in 1981, I was aware of the whereabouts of
some sketches and miscellaneous artifacts that Wallace Wood left with me and
Bill Pearson.

Neither in my role as an individual, nor during my time as Executor of the Estate
of Wallace Wood, through the probating of the Wallace Wood will, was I ever
privy to any ‘attmnation regarding the whereabouts of any other artwork, or other
property, that would properly be part of the Estate of Wallace Wood.

At no time have I made any demand to anyone for the return any artwork or other
property that would be part of the Estate of Wallace Wood.

I am supportive of and applaud Wallace Wood Properties, LLC’s efforts to find

-and recoup original Wallace Wood artwork, for the purpose of building of a

permanent collection of his work for various purposes, including education and

fe bh Riba

John H. Robinson

exhibition,

Dated: Yo -1¢
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STATE OF NEW YORK

COUNTY OF Onondaga.

On the | lo day of Rett in the year Ole before me, the
undersigned, personally appeared John HL. Kobasons , personally known to me

or proved to me on the basis of satisfactory evidence to be the individual whose name is
subscribed to the within instrument and acknowledged to me that he executed the same in his
capacity, and that by his signature on the instrument, the individual, or the person upon behalf of

which the individual acted, executed the instrument.
Notary Public

Printed Name: Sabi MN. Feckerk

My Commission Expires:

ot
/ ' No. 4976532
TANG POLS tty Commissio’’ 2, $878 January 14, DOL”

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EXHIBIT “4”
